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                                                March 17, 2023

     BY EMAIL DELIVERY

     Erin Murdock-Park, Esq.
     U.S. Department of Justice
     450 Fifth Street, NW
     Washington, DC 20530
     Erin.Murdock-Park@usdoj.gov

               Re:      United States, et al. v. Google LLC, No. 20-cv-03010 (D.D.C.)

     Dear Erin:

               I write in response to your letters of March 1 and 15, 2023.

              As I explained in my January 11, 2023 and January 30, 2023 letters, there is no
     justification for requesting additional discovery-on-discovery at this late stage of the case. The
     DOJ had more than adequate time to pursue any discovery regarding chats during the fact
     discovery period in this case and it chose not to do so. Nevertheless, in an effort to avoid further
     court involvement, we are producing the following documents today.

            First, your letters request production of unredacted and unsealed versions of the filings in
     the Epic litigation located at MDL ECF Nos. 463 and 464. Concurrently with this letter, we will
     upload to JEFS the sealed versions of the requested filings.

             Second, your letters also request production of the chat materials produced to plaintiffs in
     the Epic litigation following Judge Donato’s February 15, 2023 ruling (ECF No. 454). Later
     today, we expect to upload to JEFS a copy of the chat materials from document custodians in this
     case produced to the Epic plaintiffs following Judge Donato’s ruling. 1 There is no basis for
     demanding production of chats produced in the Epic litigation associated with individuals who
     are not custodians in this litigation, and Google will not be producing such documents.


     1
      After the documents were produced to the Epic plaintiffs, Google identified certain privileged
     materials that were inadvertently produced and are therefore being clawed-back from the Epic
     plaintiffs. Google has removed these materials from the production it will be making later today.


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       Please note that the sealed filings and other materials we are producing today have been
designated “Confidential” under the Stipulated Protective Order.

                                                     Sincerely,




                                                     John E. Schmidtlein

cc: Matthew K. McKinley, Esq.




                                                                        USDOJ-GOOGEX-000423
